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Attorneys for Plaintiff and Plaintiff putative class

UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF NEW JERSEY
---------------------------------------------------------------------x
ALLISON MARIE KYLE, as guardian ad litem
for her daughter E.K.L. who is suing as Plaintiff                      Case No. 2:15-cv-05193-ES-JAD
on behalf of herself and all others similarly situated,
                                                                       NOTICE OF MOTION
                  -against-                                            FOR ADMISSION PRO HAC
                                                                       VICE
SELECTIVE SERVICE SYSTEM,
DIRECTOR OF SELECTIVE SERVICE,
         LAWRENCE G. ROMO, in his official capacity,

                                             Defendants.
----------------------------------------------------------------------x

        PLEASE TAKE NOTICE that the attorney for Plaintiff and Plaintiff putative class,

Michael J. Daher, will move before the Honorable Esther Salas, U.S.D.J. on August 3, 2015 for

an Order permitting attorney Roy Den Hollander, who is an attorney in good standing before the

bars of the State of New York, the U.S. Southern District of New York, the U.S. Eastern District

of New York, the U.S. Court of Appeals for the Second Circuit and the U.S. Supreme Court, to

appear and participate in the above caption case.
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       An affidavit by attorney Roy Den Hollander in compliance with Civ. Rule 101.1 is

attached


Dated: July 7, 2015
       West Harrison, N.Y.                               Respectfully submitted

                                                         s/ Michael J. Daher

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